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   United States of America
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 8
                                  UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     CASE NO. 2:10-CR-00299-07 WBS
12                                  Plaintiff,     STIPULATION REGARDING EXCLUDABLE
                                                   TIME PERIODS UNDER SPEEDY TRIAL
13                           v.                    ACT; [PROPOSED] FINDINGS AND ORDER
14   LOUIE SALAZAR,                                DATE: June 8, 2015
                                                   TIME: 9:30 a.m.
15                                  Defendant.     COURT: Hon. William B. Shubb
16

17                                            STIPULATION

18         Plaintiff United States of America, by and through its counsel of record, and

19 defendant, by and through defendant’s counsel of record, hereby stipulate as follows:

20         1.     By previous order, this matter was set for status on June 8, 2015.

21         2.     By this stipulation, defendant now moves to continue the status conference

22 until August 17, 2015, and to exclude time between June 8, 2015, and August 17, 2015,

23 under Local Code T4.

24         3.     The parties agree and stipulate, and request that the Court find the

25 following:

26                a)      Counsel for defendant desires additional time to consult with his

27         client, review the current charges, conduct investigation and research related to the

28         charges, review the discovery, discuss potential resolution, and otherwise prepare


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 1        for trial.

 2               b)      Counsel for defendant believes that failure to grant the above-

 3        requested continuance would deny him/her the reasonable time necessary for

 4        effective preparation, taking into account the exercise of due diligence.

 5               c)      Although the Indictment was filed in 2010, the defendant was not

 6        arrested until December 2014. The defendant is currently out of custody and being

 7        supervised by the Pretrial Services Officer.

 8               d)      The government does not object to the continuance.

 9               e)      Based on the above-stated findings, the ends of justice served by

10        continuing the case as requested outweigh the interest of the public and the

11        defendant in a trial within the original date prescribed by the Speedy Trial Act.

12               f)      For the purpose of computing time under the Speedy Trial Act, 18

13        U.S.C. § 3161, et seq., within which trial must commence, the time period of June 8,

14        2015 to August 17, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§

15        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted

16        by the Court at defendant’s request on the basis of the Court’s finding that the ends

17        of justice served by taking such action outweigh the best interest of the public and

18        the defendant in a speedy trial.

19        IT IS SO STIPULATED.

20 Dated: June 2, 2015                                BENJAMIN B. WAGNER
                                                      United States Attorney
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22                                                    /s/ JUSTIN L. LEE
                                                      JUSTIN L. LEE
23                                                    Assistant United States Attorney
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25 Dated: June 2, 2015                                /s/ MICHAEL BIGELOW
                                                      MICHAEL BIGELOW
26
                                                      Counsel for Defendant
27                                                    LOUIE SALAZAR

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 2                                    FINDINGS AND ORDER

 3        IT IS SO FOUND AND ORDERED.

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 5        Dated: June 3, 2015

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     STIPULATION REGARDING EXCLUDABLE TIME    3
30   PERIODS UNDER SPEEDY TRIAL ACT
